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IN THE UNITED STATES DISTRICT COURW54 c

FoR THE WESTERN DISTRICT oF TENNESSEE U@<"¢ 4” "“@-c.

 

EASTERN DIVISION 3.' '6.2
UNrrED sTATEs oF AMERICA, ) U';'
) ?QU/S’f
Plaintiff, ) ;l/
)
Vs. ) No. 03-10009-T
)
vALERY AKSELRUD and )
GENNADY AKSELRUD, )
)
Defendants. )

 

ORDER CONTINUING TRIAL AND EXCLUDING DELAY

 

Upon motion for counsel of defendants Valery and Gennady Akselrud, With no objection
from the government and for good cause shown, this case is hereby continued Defendants contend
that additional time is needed for preparation for the trial and to Work out a resolution of the case.

The court finds that the Akselrud defendants’ need for a continuance for additional
preparation outweighs the best interests of the public and the defendant in a Speedy trial; therefore,
the ends of justice Will be served by granting a continuance Accordingly, the case is continued. A
report date is set for March 6, 2006, at 8:30 a.ln. and the trial is set for March 20, 2006, at 9:30 a.m.
The resulting period of delay from September 6, 2005 , to March 20, 2006, is excluded pursuant to
18 U.S.C. § 3l6l(h)(8)(A).

IT IS SO ORDERED.

A.QM¢/

J S D. TODD
ED STATES DISTRICT IUDGE

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DATE

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Honorable J ames Todd
US DISTRICT COURT

